            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:09CR23

UNITED STATES OF AMERICA,          )
                                   )
Vs.                                )                                  ORDER
                                   )
TARUS CAVE.                        )
__________________________________ )

       THIS MATTER is before the court upon the court’s Motion for Inquiry as

required by Rule 44(c), Federal Rules of Criminal Procedure.1 On August 28, 2009,

a hearing was conducted on this motion, at which both defendant and the government

were present and represented by counsel.

       At the hearing, the court explained to defendant the nature of the perceived

conflict, the representations that had been made to the court concerning the

perception that defense counsel may have sought employment with the United States

Attorney’s Office during the period of representation, and defendant’s constitutional

right to conflict-free counsel. In explaining such right, the court discussed counsel’s

duty of loyalty under the North Carolina Rules of Professional Conduct, N.C.R.P.C.

1.7 (which the court explained as the right to have counsel looking out for



       1
                Rule 44(c) does not deal precisely with the conflict issue raised herein and is
being utilized by the court as a framework for conducting the inquiry.

                                                 -1-


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defendant’s best legal interests without regard for any personal interest counsel might

have), the serious nature of the charges now pending against the defendant, and the

defendant’s right to request independent counsel to explain the right to conflict-free

representation as well as defendant’s legal options. Defendant acknowledged

understanding the nature of the issue as well as such rights, but declined appointment

of independent counsel.

      After offering such explanation, the court afforded both counsel for the

defendant and the government an opportunity to speak. Counsel for defendant

explained that any perceived request for employment with the Department of Justice

in an email sent to AUSA Rose was made in jest, that he had explained such to

defendant, and that defendant had requested that he remain counsel of record.

Consistent with counsel for defendant’s recollection, counsel for the government also

stated that she considered such communication from defense counsel as being made

in jest and that if she had believed he was serious, she would have raised any concern

with both defense counsel and the court.

      Counsel for defendant also raised in the hearing the issue of an alleged oral

communication he made to another AUSA, who was following up on the email to

AUSA Rose. From such subsequent communication, such AUSA perceived that

counsel for defendant was seriously seeking employment with the United States

                                          -2-


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Attorneys Office for the Western District of North Carolina. At the hearing, counsel

for defendant denied that he made any statement that could be construed in such a

manner and pointed out that no affidavit had been tendered in this matter by such

AUSA and that such AUSA was not present at the hearing.

      After hearing from the court and respective counsel, the court afforded

defendant an opportunity to speak, confer further with counsel, and/or ask the court

any questions defendant might have. Without equivocation, defendant stated that

counsel had fully explained the situation, that defendant understood the right to

conflict-free representation, and that defendant desired that counsel be allowed to

continue in his capacity as counsel of record herein. Defendant stated that counsel

had been most attentive to his case, had maintained excellent communications, and

had acted in his best interests. Counsel for the government confirmed that defense

counsel had been working on such case in a professional manner.

      Rule 44(c) requires the court to take prompt action when the possibility of a

conflict of interest arises in a criminal matter:

      (2) Court's Responsibilities in Cases of Joint Representation.

      The court must promptly inquire about the propriety of joint
      representation and must personally advise each defendant of the right to
      the effective assistance of counsel, including separate representation.
      Unless there is good cause to believe that no conflict of interest is likely
      to arise, the court must take appropriate measures to protect each

                                           -3-


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      defendant's right to counsel.

Fed.R.Crim.P. 44(c)(2). While the Rule speaks to joint representation, the court finds

it applicable to conflicts involving a defense attorney who may be perceived as

applying for employment with the United States Attorneys Office during the period

of representation of a defendant charged by such office.

      Based on the record before the court as developed at the hearing, the court

accepted the following facts: (1) AUSA Rose as well as counsel for defendant

perceived an email, in which the possibility of employment by the United States

Attorneys Office was mentioned, as being made in jest; and (2) each party to a

subsequent oral communication concerning the intent of such email came away with

a different impression as to what was said. As to the subsequent oral communication,

the court has no reason to doubt the recollection of either participant as reasonable

professionals can honestly differ as to what was said during a conversation where no

verbatim record is made. The court can only make its determinations based on the

record presented, and it appears that the most that can be said is that counsel for

defendant would be receptive to any number of opportunities for future legal

employment in these economically troubling times; however, being receptive to

possible employment opportunities across a broad spectrum of legal employment is

inchoate, and does not amount to a conflict requiring summary recusal of counsel

                                          -4-


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under Rule 44.

       While finding that there is no actual conflict of interest in this case under Rule

44, the United States Attorney has quite properly brought such communications and

impressions to the court’s attention because even the possibility of a conflict of

interest can undermine confidence in the legal process.

       Having conducted the inquiry required by Rule 44(c)(2), the court finds that

there is good cause to believe that no conflict of interest actually exists or is likely to

arise. Instead, the court finds that counsel for defendant has diligently represented

this defendant thus far in the litigation and has at all times acted in the best interest

of the defendant without regard to counsel’s personal interest, if any. Further, the

court finds that defendant has been fully informed of the nature of the perceived

conflict and has made a knowing and voluntary consent to continuation of such

representation.2 The court concurs fully in defendant’s decision and will allow the

continuation of such representation.

       The court appreciates the efforts of counsel for defendant, Mr. Rudisill, and

counsel for the government, Ms. Rose, in their preparation for such hearing and the

candor with the court in the Rule 44(c) hearing.


       2
               While many of the court’s determinations may overlap with considerations
inherent to N.C.R.P.C. 1.7, the court’s determination is limited to considerations required under
Rule 44, Fed.R.Crim.P.

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                                     ORDER

      IT IS, THEREFORE, ORDERED that having conducting a Rule 44 Inquiry,

the court ALLOWS the continuation of representation in this matter by Mr. Rudisill.



                                        Signed: August 31, 2009




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